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HLED BY __l£€'__ D.C.

IN THE UNITED STATES DISTRICT COURT 05 359 _1 pH 5= m
FOR THE WESTERN DISTRICT 0F TENNES SEE

WESTERN DIVISION M M- mc%lM

  

 

IGNACIO BRINGAS GUEDEA,

Plaintiff, Case No.: 03-MC-00022 D
v.
UNI'I`ED AGRI PRODUCTS,

Defendant.

 

ORDER CLOSING MISCELLANEOUS CASE

 

It appearing to the court that the relief sought has been granted, there being no further issue,
the Clerk is directed to close the instant case.

IT IS SO ORDERED this g 2 day , 2005.

  

UN STATES DISTRICT JUDGE

     

UN1TED s1 TES D1STR 1CT COURT- WESTERN DISTR1CT OF TENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 5 in
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Remedios Gomez Arnau

CONSULATE GENERAL OF MEXICO
2600 Apple Valley Road

Atlanta, GA 30319

Honorable Bernice Donald
US DISTRICT COURT

